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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON


 UNITED STATES OF AMERICA                           3:18-cr-00319-J0-01

                  v.                                WRIT OF HABEAS CORPUS
                                                    AD PROSEQUENDUM (AMENDED TO
 MARK LEROY DENCKLAU,                               CORRECT CASE NUMBER)

                  Defendant.                        UNDER SEAL


TO:       Sheriff, Multnomah County, Oregon

          Pursuant to Chapter 153, Title 28, United States Code, you are directed to deliver the

body of above named defendant MARK LEROY DENCKLAU, SWIS ID No. 108536, a

prisoner in your custody currently being housed at the Multnomah County Detention , to the

United States Marshal for the District of Oregon, or his duly authorized Deputy, who is hereby

directed to produce said prisoner before this Court on Monday, July 9, 2018, at 1:30 p.m., for the

purpose of an initial appearance/arraignment and any further proceedings. It is further ordered

that the United States Marshal, or his duly authorized deputy shall re-deliver said prisoner to



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your facility at the conclusion of said proceedings, and is authorized to incur the necessary

expenses connected herewith, as provided by law.

Date: July 5, 2018




                                                              tates Magistrate Judge

Presented by:
BILLY J. WILLIAMS
United States Attorney

s/ .f..u:Jr,   K.   'F>od:td
LEAH K. BOLSTAD, OSB #052039
Assistant United States Attorney




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